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                        EXHIBIT
                        EXHIBIT 1
                           Case:
      Hearing Date: No hearing     1:23-cv-02044
                               scheduled                                  Document #: 1-1 Filed: 03/31/23 Page 2 of 55 PageID #:7
      Location: <<CourtRoomNumber>>

                                                                                                     FILED
                                                                                                     3/2/2023 12:59 PM
                                                       IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS IRIS Y. MARTINEZ
                                                                                                     CIRCUIT CLERK
                                                           COUNTY DEPARTMENT, CHANCERY DIVISION
                                                                                                     COOK COUNTY, IL
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                                                                                                     2022CH10789
                                            KARIE ANNE JOHNSON,            )                         Calendar, 2
                                                                           )                         21696198
                                                   Plaintiff,                               )       Case No. 2022 CH 10789
                                                                                            )
                                                   v.                                       )
                                                                                            )
                                            BETTER VET LLC, a Massachusetts                 )       Amount Claimed: damages in excess of
                                            limited liability company,                      )       $50,000.00, plus unjust enrichment and
                                                                                            )       other damages.
                                                                                            )
                                                                                            )       Plaintiff demands trial by jury.
                                                   Defendant.                               )

                                                                         AMENDED VERIFIED COMPLAINT

                                                   Plaintiff, KARIE ANNE JOHNSON, individually (“Plaintiff”), by and through her

                                            counsel, ALBEE LAW PC, complains of Defendant, BETTER VET LLC, a Massachusetts limited

                                            liability company (“Defendant”), and states:

                                                                                          PARTIES

                                                   1.      Plaintiff is an Illinois resident.

                                                   2.      Defendant is a Massachusetts limited liability company authorized and admitted as

                                            a foreign limited liability company in Illinois.

                                                   3.      Defendant owns and operates mobile veterinary clinics throughout the United

                                            States, including in the Cook County, Illinois, region.

                                                   4.      Plaintiff is a licensed Illinois veterinarian.

                                                   5.      Plaintiff worked as a veterinarian for Defendant and its affiliate, BV

                                            VETERINARY SERVICES ILLINOIS, PLLC (“PLLC”), in the Cook County, Illinois, region

                                            from on or about June 6, 2022 to October 4, 2022.

                                                   6.      The PLLC is not a party to this litigation.

                                                                                                                                       EXHIBIT
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                                                                              JURISDICTION AND VENUE

                                                    7.      This Court has jurisdiction over the subject matter of and the parties to this
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                                            controversy because: (a) Plaintiff resides in Illinois; (b) Defendant conducts business in Illinois;

                                            and (c) this controversy arises from the transaction of business in Illinois.

                                                    8.      Pursuant to 735 ILCS 5/2-101, venue is proper in Cook County, Illinois, because

                                            the transaction or some part thereof from which this action arises occurred in Cook County,

                                            Illinois.

                                                                                 STATEMENT OF FACTS

                                                    9.      Plaintiff is a part-owner of VIP Vet Visit, Inc., an Illinois corporation (“VIP Vet

                                            Visit”), which is not a party to this litigation.

                                                    10.     From on or about January 23, 2019 to on or about June 6, 2022, VIP Vet Visit

                                            owned and operated a business that provided mobile and offsite veterinary services in the Cook

                                            County, Illinois, area.

                                                    11.     Plaintiff was the sole veterinarian on staff at VIP Vet Visit and the only veterinarian

                                            who provided services on behalf of VIP Vet Visit to its clients.

                                                    12.     On or about July 2021, Defendant approached Plaintiff and VIP Vet Visit and

                                            offered to purchase VIP Vet Visit’s practice and assets.

                                                    13.     On or about April 2022, Plaintiff and VIP Vet Visit agreed to sell VIP Vet Visit’s

                                            practice and assets to Defendant, subject to the parties entering a written purchase agreement, and

                                            with a planned closing date of June 6, 2022.

                                                    14.     While negotiating the sale and related transaction documents, Defendant advised

                                            Plaintiff and VIP Vet Visit that, to comply with Illinois law surrounding the ownership and

                                            operation of veterinary practices, Defendant would use its affiliate, the PLLC, to purchase the



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                                            pharmaceutical assets and operate the practice’s professional services after closing.

                                                   15.     In an email dated April 26, 2022, Defendant’s in-house counsel, Wendy Koelsch,
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                                            advised Plaintiff’s and VIP Vet Visit’s attorney, Joseph Beer, that Defendant had formed “our

                                            PLLC…‘BV Veterinary Services, Illinois, PLLC’” in Illinois to operate the practice, with an

                                            Illinois-licensed veterinarian to be the PLLC’s membership interest holder. A true and correct copy

                                            of Ms. Koelsch’s April 26, 2022 email is attached hereto and incorporated herein as Exhibit “A”.

                                                   16.     According to the Illinois Secretary of State’s records, Lisa Danielle Cimino, DVM,

                                            organized the PLLC on July 26, 2021 for the purpose of “Mobile veterinary services”. A true and

                                            correct copy of the PLLC’s Articles of Organization, filed July 26, 2021, is attached hereto and

                                            incorporated herein as Exhibit “B”.

                                                   17.     On information and belief, at the time of filing the articles of organization, Dr.

                                            Cimino was Defendant’s employee or otherwise affiliated with Defendant.

                                                   18.     The articles of organization list both the PLLC’s principal place of business and

                                            Dr. Cimono’s address as the same address as Defendant’s corporate address in Boston,

                                            Massachusetts. See Exhibit B.

                                                   19.     During negotiations regarding the sale of VIP Vet Visit’s assets and practice, Ms.

                                            Koelsch initially advised Plaintiff and her counsel that Dr. Cimino would hold the PLLC’s

                                            membership interest.

                                                   20.     Later, on May 10, 2022, Ms. Koelsch stated in an email to Plaintiff and others:

                                                           …Considering that [Dr. Cimino’s] Illinois license may not be issued in
                                                           time for the scheduled closing, I would suggest that [Plaintiff] act as the
                                                           [PLLC Membership Interest Holder] on a short-term basis until [Dr.
                                                           Cimino’s] license application gets approved.

                                                           By way of background, at VetCor, where I worked for 25 years, the first
                                                           veterinary practice owner/Seller in a “[PLLC]” state would invariably
                                                           become our “[PLLC Membership Interest Holder]”.


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                                                                                        ***
                                                     Please note the following for your consideration:
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                                                     -   One of the [PLLC] documents is a “[Membership Interest
                                                         Assignment]”, that gets signed “in blank” by the [PLLC Membership
                                                         Interest Holder] in advance; and we hold onto it until that time when
                                                         the [PLLC Membership Interest Holder] will be transferring their
                                                         shares to the successor veterinarian.

                                                     -   (When I was at VetCor), we noted that, practically speaking, there is
                                                         virtually no interaction or activity with the State Veterinary Boards
                                                         for [PLLC Membership Interest Holders].

                                                     -   We, at BetterVet, have a Certificate of Insurance that we can provide
                                                         - evidencing Professional Liability insurance coverage in the amount
                                                         of $1M;

                                                     -   Moreover, the [PLLC] documents contain further protection in the
                                                         indemnification provisions covering the [PLLC Membership Interest
                                                         Holder] in full….

                                                     (emphasis added). A true and correct copy of Ms. Koelsch’s May 10, 2022
                                                     email is attached hereto and incorporated herein as Exhibit “C”.

                                              21.    On May 19, 2022, Ms. Koelsch sent another email, stating, in part:

                                                     …As we had discussed, certain states have corporate practice of veterinary
                                                     medicine rules that do not allow us (BetterVet) to utilize a limited liability
                                                     company (LLC) (i.e., owned by non-veterinarians) to purchase veterinary
                                                     practice assets; instead we are required to form a professional entity (i.e.,
                                                     professional corporation (PC) or professional limited liability company
                                                     (PLLC)) for such veterinary assets purchase. (The PLLC would enter into
                                                     an Administrative Services Agreement arrangement with BetterVet LLC
                                                     (“the LLC”, with the LLC being the Manager.)

                                                     Accordingly, on July 26, 2021, we filed a Certificate of Formation (with
                                                     the IL SOS) - effectively forming an Illinois PLLC., called “BV
                                                     Veterinary Services Illinois, PLLC”.
                                                                                         ***
                                                     As drafted, [Plaintiff] would act as the Membership Interest holder, Sole
                                                     Member and officer – until such time as Dr. Dani Cimino is issued her
                                                     Illinois Veterinary Board license and can have the PLLC membership
                                                     interest transferred from [Plaintiff] to [Dr. Cimino]. (This would be easy
                                                     and quick to accomplish, since [Plaintiff] would already have signed the
                                                     Assignment of Membership Interest” … “in blank”….



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                                                           (emphasis added). A true and correct copy of Ms. Koelsch’s May 19, 2022
                                                           email is attached hereto and incorporated herein as Exhibit “D”.
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                                                   22.     On or about June 6, 2022, VIP Vet Visit and Plaintiff sold substantially all VIP Vet

                                            Visit’s assets used in its mobile and offsite veterinary business to Defendant and the PLLC

                                            pursuant to that certain Practice Purchase Agreement dated June 6, 2022 (“Purchase Agreement”)

                                            and other transaction documents.

                                                   23.     At closing, Plaintiff delivered a signed blank assignment of all her interest in the

                                            PLLC to Defendant to hold until such time as Dr. Cimino’s Illinois veterinarian license was

                                            approved.

                                                   24.     Under the Purchase Agreement, the PLLC purchased VIP Vet Visit’s

                                            pharmaceutical inventory.

                                                   25.     All other assets purchased under the Purchase Agreement were purchased by both

                                            Defendant and the PLLC.

                                                   26.     Such assets included VIP Vet Visit’s: (a) client list, including its clients’ phone

                                            numbers, email addresses, and other contact information; (b) veterinary patient files; and (c)

                                            goodwill.

                                                   27.     On June 6, 2022, Defendant and the PLLC entered an administrative services

                                            agreement (“Services Agreement”). A true and correct copy of the Services Agreement is attached

                                            hereto and incorporated herein as Exhibit “E”.

                                                   28.     Under the Services Agreement, the PLLC performs the practice’s professional

                                            veterinary services, while Defendant is the exclusive provider of all administrative services for the

                                            practice, and controls all aspects of the PLLC’s business other than professional veterinary

                                            services. See Exhibit E.

                                                   29.     Defendant’s administrative services to the PLLC include:


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                                                           (a) Assisting with recruiting and screening prospective professional personnel;

                                                           (b) Providing administrative personnel, including determining and paying their
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                                                              salaries and other benefits;

                                                           (c) Billing, accounting, bookkeeping, budgeting, accounts receivable and payable,

                                                              and other financial services;

                                                           (d) Maintaining patient records;

                                                           (e) Marketing of the professional services through media and otherwise;

                                                           (f) Providing equipment, furnishings, and supplies, including inventory (other than

                                                              pharmaceutical inventory), which would remain Defendant’s property (other

                                                              than pharmaceutical inventory);

                                                           (g) Obtaining and paying insurance, including malpractice, general liability, and

                                                              property insurance; and

                                                           (h) Notifying the PLLC of any changes to relevant laws and regulations affecting

                                                              the practice or the PLLC.

                                                           See Exhibit E.

                                                  30.      In addition, Defendant also licensed the use of its proprietary name, “BetterVet”,

                                            to the PLLC.

                                                  31.      Under the Services Agreement, Defendant is entitled to substantial fees and

                                            compensation from the PLLC, including:

                                                           (a) An annual licensing fee of five percent (5%) to fifteen percent (15%) of the then

                                                              fair-market value of the practice;

                                                           (b) Monthly reimbursement of all Defendant’s direct costs allocated to the PLLC,

                                                              with a fifteen (15%) markup for overhead and other administration on such



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                                                               costs;

                                                           (c) Monthly reimbursement for all Defendant’s direct costs for acquiring and/or
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                                                               leasing and maintaining furniture, fixtures, and equipment provided to the

                                                               PLLC;

                                                           (d) Monthly reimbursement for all Defendant’s direct costs incurred in the

                                                               provision of marketing services, with a ten percent (10%) markup for overhead

                                                               and administration and a fifteen percent (15%) markup on profit on such costs;

                                                               and

                                                           (e) A $100,000.00 practice location administrative fee for the PLLC to compensate

                                                               Defendant for unallocated overhead and a “reasonable profit”, subject to annual

                                                               renegotiation.

                                                           See Exhibit E, Article 5.

                                                     32.   After closing and execution of the Services Agreement, Defendant and the PLLC

                                            (under the BetterVet brand) began operating VIP Vet Visit’s former veterinary practice, including

                                            contacting, profiting from, and providing services to VIP Vet Visit’s former clients.

                                                     33.   On or about June 6, 2022, the PLLC, through its affiliation with Defendant, began

                                            employing Plaintiff.

                                                     34.   Thereafter, Plaintiff began providing mobile veterinary services on Defendant’s

                                            and the BetterVet branded PLLC’s behalf to clients located in approximately the same Chicago-

                                            area geographic region in which Plaintiff had previously provided veterinary services for VIP Vet

                                            Visit.

                                                     35.   The Chicago-area geographic region in which Plaintiff provided veterinary services

                                            included primarily the south and west suburbs of Chicago.



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                                                   36.     On information and belief, Defendant had not operated previously in the south and

                                            west suburbs of Chicago.
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                                                   37.     Plaintiff’s employment included providing continuing veterinary care to many of

                                            VIP Vet Visit’s former clients and their pets.

                                                   38.     These former VIP Vet Visit clients made up most of Defendant’s and the BetterVet

                                            branded PLLC’s clients in Plaintiff’s geographic coverage area.

                                                   39.     On information and belief, the VIP Vet Visit clients primarily agreed to bring their

                                            pets to the BetterVet-branded PLLC practice solely because of their prior relationship with

                                            Plaintiff and their desire to have her continue to provide their pets with veterinary care.

                                                   40.     On information and belief, Defendant and the PLLC had no other veterinarians

                                            performing services in Plaintiff’s coverage area during her employment.

                                                   41.     On October 4, 2022, Plaintiff informed Defendant that she was resigning from her

                                            employment.

                                                   42.     Plaintiff’s last date of employment was October 4, 2022.

                                                   43.     On October 5, 2022, Plaintiff received an off-boarding procedures email from

                                            Defendant’s Director of Operations Enablement, Nicole Penrose, advising, in part:

                                                           …Client Communication: We will be communicating with your clients
                                                           via email regarding your departure tomorrow….

                                                           (emphasis in original). A true and correct copy of the October 5, 2022
                                                           email is attached hereto and incorporated herein as exhibit “F”.

                                                   44.     Other than the October 5, 2022 email, which did not specify what information

                                            would be communicated to clients regarding Plaintiff’s departure, Plaintiff did not receive any

                                            communications from Defendant advising that it intended to notify Plaintiff’s clients of her

                                            departure or what information those communications would contain.



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                                                   45.     On October 20, 2022, Plaintiff discovered that Defendant had emailed a notification

                                            earlier that day to clients who had received services from Plaintiff, in the form of a written and
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                                            signed letter (“Client Notice”). A true and correct copy of the Client Notice is attached hereto and

                                            incorporated herein as Exhibit “G”.

                                                   46.     In the Client Notice, Defendant posed as Plaintiff and signed her name.

                                                   47.     The Client Notice states:

                                                           Hi [Client Name],

                                                           I hope this note finds you and your pet in good health. I’m reaching out to
                                                           you with the news that I will be leaving my position with BetterVet as of
                                                           today. I will truly miss all of my pet patients and their families. It has been
                                                           my absolute pleasure getting to know you and your pet and I want to
                                                           extend my thanks for welcoming me into your home.

                                                           I’m sorry that our time together was short; however, I know that you’re
                                                           in good hands with my BetterVet colleagues. While I don’t have news
                                                           about my replacement yet, please be assured that we are actively
                                                           searching for a veterinarian to provide services in my original coverage
                                                           area.

                                                           If you have any questions or have an urgent request, feel free to reach out
                                                           to your client liaison by phone at (888) 788-1165 or by email at
                                                           support@bettervet.com. They will be available to help you during this
                                                           transition period.

                                                           Thank you again and warm wishes to you and your pet.

                                                           Sincerely,
                                                           Karie Johnson, DVM

                                                           (emphasis added). See Exhibit G.

                                                   48.     Plaintiff had no knowledge Defendant intended to send the Client Notice posing as

                                            her, signing her name, and using her veterinary credentials.

                                                   49.     Plaintiff did not consent to Defendant sending the Client Notice.

                                                   50.     Plaintiff did not consent to Defendant signing her name or using her credentials to



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                                            the Client Notice.

                                                   51.     By expressly stating and representing that Plaintiff “[knew]” the clients would be
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                                            “in good hands”, the Client Notice gave a false endorsement by Plaintiff of Defendant and its

                                            BetterVet brand, Defendant’s and the BetterVet brand’s businesses, Defendant’s and the BetterVet

                                            brand’s veterinary services and clinics, and Plaintiff’s former colleagues at Defendant’s and the

                                            BetterVet brand’s businesses, and any veterinarian hired to take over Plaintiff’s prior coverage

                                            area and services.

                                                   52.     Further, by expressly stating that “we” are “actively searching” for a new

                                            veterinarian, the Client Notice falsely represents and implies that Plaintiff will have a continued

                                            association with Defendant and the BetterVet brand and will assist in locating, hiring, and vetting

                                            any veterinarian who takes over her coverage area and clients (whether hired by Defendant or

                                            another BetterVet branded business).

                                                   53.     Therefore, the Client Notice falsifies an endorsement by Plaintiff of Defendant and

                                            the BetterVet brand, Defendant’s and the BetterVet brand’s businesses, Defendant’s and the

                                            BetterVet brand’s veterinary services and clinics, Plaintiff’s former colleagues at Defendant’s and

                                            the BetterVet brand’s businesses, and any veterinarian hired to take over Plaintiff’s prior coverage

                                            area and clients (whether hired by Defendant or another BetterVet branded business).

                                                   54.     Plaintiff did not consent to Defendant impersonating her or forging her signature in

                                            the Client Notice, nor did she consent to Defendant falsifying an endorsement by her of Defendant

                                            and its BetterVet brand, Defendant’s and the BetterVet brand’s businesses, Defendant’s and the

                                            BetterVet brand’s veterinary services and practices, Plaintiff’s former colleagues at Defendant’s

                                            and the BetterVet brand’s businesses, or any veterinarian hired to take over Plaintiff’s prior

                                            coverage area and clients (whether hired by Defendant or another BetterVet branded business).



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                                                       55.   On information and belief, Defendant sent the Client Notice to every client who

                                            had ever been a client of VIP Vet Visit, including clients who had never brought their pets to
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                                            Defendant’s or any BetterVet branded clinics or otherwise engaged Defendant or any BetterVet

                                            branded veterinary services or clinics.

                                                       56.   On further information and belief, Defendant also sent the Client Notice to all

                                            clients for whom Plaintiff had provided veterinary services on behalf of Defendant and/or the

                                            BetterVet branded PLLC, but who had never been VIP Vet Visit clients.

                                                       57.   On information and belief, these clients included all former clients whose pets were

                                            deceased and whom Plaintiff had had to euthanize.

                                                       58.   All such pets were marked as deceased in the company computer system.

                                                       59.   In Plaintiff’s experience, when a veterinarian euthanizes a client’s pet, standard

                                            practice in the industry is to never contact that client again unless the client uses the veterinarian

                                            for other services for other pets.

                                                       60.   It was Plaintiff’s practice not to contact these clients.

                                                       61.   Plaintiff believes that contacting such clients is distasteful, not in line with industry

                                            standards, and would trigger painful memories for the clients who lost their pets.

                                                       62.   Plaintiff is mortified, ashamed, and has suffered substantial emotional pain and

                                            distress because of Defendant posing as her and sending the Client Notice to these and other

                                            clients.

                                                       63.   Further, Plaintiff has been contacted by former clients who are unhappy with

                                            Defendant’s and the BetterVet branded businesses, services, and clinics and believe she is still

                                            associated with Defendant and its BetterVet brand.

                                                       64.   On information and belief, at least one client has been charged a monthly



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                                            membership fee by Defendant even after the client contacted Defendant and requested to cancel

                                            the membership.
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                                                   65.     On information and belief, Defendant is charging client credit cards through VIP

                                            Vet Visit, thereby continuing to represent that Dr. Johnson remains associated with Defendant and

                                            its BetterVet branded businesses, services, and clinics.

                                                   66.     Within days after Plaintiff’s departure, at least one client advised Plaintiff that when

                                            it had attempted to schedule an appointment with Plaintiff, the client was not told that she had left

                                            the company but rather that she was on a leave of absence.

                                                   67.     Defendant had no factual basis for apparently advising clients that Plaintiff

                                            remained employed by Defendant and only was on a leave of absence.

                                                   68.     On information and belief, Defendant’s apparent misrepresentation to clients

                                            regarding Plaintiff’s departure was made purely to harm Plaintiff’s reputation and to paint her in a

                                            negative light by suggesting that Plaintiff remains associated with Defendant and the BetterVet

                                            brand’s businesses, services, and clinics.

                                                   69.     Plaintiff’s professional reputation has been damaged because of Defendant sending

                                            the Client Notice and thereafter apparently continuing to charge client credit cards using the VIP

                                            Vet Visit name and falsely advising clients that Plaintiff remained Defendant’s employee.

                                                   70.     Because of the damage to Plaintiff’s professional reputation, Plaintiff has lost

                                            income and other business opportunities.

                                                   71.     On information and belief, Defendant, both directly and indirectly through its

                                            entitlement to substantial fees and compensation under the Services Agreement, has profited and

                                            will continue to profit from sending the email because clients have continued and will continue to

                                            use Defendant’s and the BetterVet brand’s services and clinics based on their belief that Plaintiff



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                                            sent the Client Notice and that she endorses Defendant and the BetterVet brand, Defendant’s and

                                            the BetterVet brand’s businesses, all her former colleagues at Defendant’s and the BetterVet
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                                            branded businesses, Defendant’s and the BetterVet branded veterinary services and clinics, and

                                            any veterinarian hired to take over Plaintiff’s former coverage area and clients (whether hired by

                                            Defendant or another BetterVet branded business).

                                               COUNT I: VIOLATION OF RIGHT OF PUBLICITY ACT, 765 ILCS 1075/5, et seq.

                                                    1 – 71. Plaintiff restates and realleges paragraphs 1 through 71 of the Statement of Facts as

                                            paragraphs 1 through 71 of this Count I as though fully alleged and set forth herein.

                                                    72.     Plaintiff is a living, natural person.

                                                    73.     By signing the October 20, 2022 Client Notice as written by and coming from

                                            “Karie Johnson, DVM”, Defendant used Plaintiff’s actual name and veterinary credentials.

                                                    74.     These are attributes which served to falsely identify Plaintiff as the Client Notice’s

                                            author to any ordinary, reasonable client to whom Defendant sent the Client Notice.

                                                    75.     By using Plaintiff’s actual name and veterinary credentials, Defendant intended to

                                            identify Plaintiff as the person sending the Client Notice.

                                                    76.     Defendant publicly published the Client Notice when it sent it to clients, including

                                            to Plaintiff’s former clients located in her former coverage area.

                                                    77.     Defendant used Plaintiff’s identity for its commercial purposes by impersonating

                                            her and forging her signature in a client communication designed to promote Defendant’s and the

                                            BetterVet brand’s businesses, services, and clinics, including to encourage Plaintiff’s former

                                            clients to continue their relationship with Defendant and the BetterVet branded PLLC even after

                                            Plaintiff’s resignation.

                                                    78.     Plaintiff did not consent, in writing or otherwise, to Defendant’s use of her identity



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                                            after her departure, including its use of her identity in connection with Defendant’s and the

                                            BetterVet brand’s businesses, services, and clinics, and for purposes of advertising and promoting
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                                            Defendant’s and the BetterVet brand’s businesses and veterinary services and clinics.

                                                    79.     As set forth above, Defendant’s use of Plaintiff’s identity as the person purportedly

                                            sending the Client Notice was intended to make clients believe that Plaintiff sent the email and

                                            that she endorsed Defendant and the BetterVet brand, Defendant’s and the BetterVet branded

                                            businesses, Plaintiff’s former colleagues at Defendant’s and the BetterVet branded businesses,

                                            Defendant’s and the BetterVet brand’s businesses, services, and clinics, and any veterinarian who

                                            took over Plaintiff’s former coverage area and clients (whether hired by Defendant or the BetterVet

                                            branded PLLC).

                                                    80.     Further, Defendant’s use of Plaintiff’s identity did confuse clients who believed

                                            that Plaintiff sent the email herself and endorsed the statements contained therein.

                                                    81.     Defendant violated Plaintiff’s right to publicity and interests in her identity each

                                            time it sent the Client Notice to a separate client.

                                                    82.     Because of Defendant’s actions in sending the Client Notice, Plaintiff has suffered

                                            and will continue to suffer actual damages, including all profits Defendant (whether directly or

                                            indirectly through its operation and affiliation with the BetterVet branded PLLC) has derived or

                                            will derive from its unauthorized use of Plaintiff’s identity in the Client Notice.

                                                    83.     Further, Plaintiff’s reputation has been damaged because Plaintiff has been

                                            contacted by former clients unhappy with Defendant’s and the BetterVet brand’s businesses,

                                            services, and clinics, and who believe Plaintiff sent the Client Notice, endorses Defendant’s and

                                            the BetterVet brand’s businesses, services, and practices, and her former colleagues, and remains

                                            affiliated with Defendant, the BetterVet brand, and the search for her replacement.



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                                                      84.   Plaintiff does not endorse Defendant, the BetterVet brand, or their businesses,

                                            Plaintiff’s former colleagues at Defendant’s or the BetterVet’s businesses, Defendant’s or the
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                                            BetterVet brand’s veterinary services or practices, or any veterinarian hired to take over Plaintiff’s

                                            coverage area and former clients (whether hired by Defendant or another BetterVet branded

                                            business).

                                                      85.   Plaintiff does not want her identity associated with Defendant’s company, the

                                            BetterVet brand, or Defendant’s or the BetterVet brand’s businesses, services, or practices.

                                                      86.   Defendant’s sending the Client Notice to clients, including to those with deceased

                                            pets, which is not in line with industry standards, has caused Plaintiff to suffer shame,

                                            mortification, and substantial emotional pain and suffering.

                                                      87.   Plaintiff does not yet know the full extent of the damage Defendant has caused her

                                            and anticipates having to incur expert fees to investigate and determine the extent of her damages.

                                                      88.   Plaintiff has incurred attorneys’ fees, costs, and expenses in having to bring this

                                            action.

                                                      89.   Defendant’s actions in sending the October 20, 2022 Client Notice were willful and

                                            egregious in that Defendant knew Plaintiff had not written the Client Notice and had not consented

                                            to Defendant using her identity after her departure for its commercial gain.

                                                      WHEREFORE, Plaintiff, KARIE ANNE JOHNSON, respectfully prays that this

                                            Honorable Court:

                                                      A.    Enter judgment in Plaintiff’s favor and against Defendant, BETTER VET LLC, a

                                                            Massachusetts limited liability company, pursuant to 765 ILCS 1075/40(a), for

                                                            violating Plaintiff’s right of publicity, in the greater of: (i) an amount to be proven

                                                            at trial, of all profits Defendant (whether directly or indirectly through the Services



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                                                           Agreement or its affiliation with the PLLC) derives from the unauthorized use of

                                                           Plaintiff’s identity, plus interest; or (ii) $1,000.00 statutory damages for each client
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                                                           Defendant sent the October 20, 2022 Client Notice to;

                                                   B.      Enter judgment in Plaintiff’s favor and against Defendant, in an amount to be

                                                           proven at trial, for Plaintiff’s reputational damages resulting from Defendant’s

                                                           violation of Plaintiff’s right of publicity;

                                                   C.      Enter judgment in Plaintiff’s favor and against Defendant for punitive damages

                                                           pursuant to 765 ILCS 1075/40(b);

                                                   D.      Award Plaintiff the expert fees, costs, and expenses she incurs in having to

                                                           investigate and determine the extent of Defendant’s violations of Plaintiff’s right

                                                           of publicity, the profits Defendant (whether directly or through the Services

                                                           Agreement or its affiliation with the PLLC) derived and will continue to derive

                                                           therefrom, the reputational damages Plaintiff has suffered and will continue to

                                                           suffer because Defendant sent the October 20, 2022 Client Notice, and Plaintiff’s

                                                           other damages;

                                                   E.      Award Plaintiff her attorneys’ fees, court costs, and expenses incurred in having to

                                                           bring this action;

                                                   F.      Award Plaintiff pre-judgment interest pursuant to 815 ILCS 205/2; and

                                                   G.      Award Plaintiff such other and further relief as in equity this Honorable Court

                                                           deems just in the premises.

                                                                         COUNT II: UNJUST ENRICHMENT

                                                   1 – 71. Plaintiff restates and realleges paragraphs 1 through 71 of the Statement of Facts

                                            as paragraphs 1 through 71 of this Count II as though fully alleged and set forth herein.



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                                                     72 – 89. Plaintiff restates and realleges paragraphs 72 through 89 of Count I as paragraphs

                                            72 through 89 of this Count II as though fully alleged and set forth herein.
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                                                     90.    Defendant (both directly and indirectly through the Services Agreement and its

                                            affiliation with the BetterVet branded PLLC) benefitted financially from and was enriched when

                                            it used Plaintiff’s identity without her permission and forged her endorsement of its businesses,

                                            services, and clinics, including her former colleagues, in the October 20, 2022 Client Notice.

                                                     91.    Specifically, the Client Notice benefitted Defendant because it bolstered

                                            Defendant’s and the BetterVet brand’s position with clients who chose to continue bringing their

                                            pets to Defendant’s and the BetterVet branded PLLC’s veterinary clinics on what the clients

                                            believed was Plaintiff’s endorsement and continued affiliation with Defendant and the BetterVet

                                            brand.

                                                     92.    These clients trusted Plaintiff as she had been their primary contact with

                                            Defendant’s organization and the BetterVet brand, with many of the clients having been Plaintiff’s

                                            clients when she ran VIP Vet Visit and only having come to Defendant’s and the BetterVet branded

                                            clinics because of Plaintiff’s affiliation therewith.

                                                     93.    Plaintiff has been impoverished by Defendant sending the Client Notice because

                                            she has not received any portion of the commercial benefit Defendant improperly obtained by

                                            using Plaintiff’s identity without her consent and forging her endorsement of Defendant’s and the

                                            BetterVet brand’s businesses, veterinary services and practices, and her former colleagues.

                                                     94.    Plaintiff has been impoverished further by Defendant sending the Client Notice

                                            because the email has tarnished her reputation with many of the clients who received the email,

                                            who are unhappy with Defendant’s and the BetterVet brand’s businesses, services, and clinics, and

                                            who believe Plaintiff remains affiliated with Defendant and the BetterVet brand.



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                                                    95.     Defendant’s enrichment relates directly to Plaintiff’s impoverishment because

                                            Defendant’s enrichment, namely, the commercial benefit Defendant has received and continues to
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                                            receive after sending the Client Notice, caused Plaintiff’s impoverishment.

                                                    96.     Defendant cannot claim that it was justified in impersonating Plaintiff and using

                                            her identity after her departure without her consent for its commercial gain, nor can it claim that it

                                            was justified in forging her endorsement of Defendant’s and the BetterVet brand’s businesses,

                                            services, and practices, her former colleagues, or any veterinarian hired to provide services in her

                                            former coverage area (whether hired by Defendant directly or by another BetterVet branded

                                            business).

                                                    97.     Further, as set forth in Count I, above, when Defendant sent the October 20, 2022

                                            Client Notice, it violated Plaintiff’s right to publicity.

                                                    98.     Defendant cannot show any justification for its actions that violated Illinois law.

                                                    99.     As the parties had no contract permitting Defendant to use Plaintiff’s identity after

                                            her departure and forge her endorsement, Plaintiff has no adequate remedy at law whereby she can

                                            recover from Defendant the sums by which it was unjustly enriched.

                                                    100.    It would be inequitable to allow Defendant to retain the benefit it receives because

                                            of the financial improvement provided by using Plaintiff’s identity without her consent and by

                                            forging her endorsement.

                                                    WHEREFORE, Plaintiff, KARIE ANNE JOHNSON, respectfully prays that this

                                            Honorable Court:

                                                    A.      Enter judgment in Plaintiff’s favor and against Defendant, BETTER VET LLC, a

                                                            Massachusetts limited liability company, in an amount to be proven at trial, for

                                                            Defendant’s unjust enrichment;



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                                                   B.      Award Plaintiff pre-judgment interest pursuant to 815 ILCS 205/2; and

                                                   C.      Award Plaintiff such other and further relief as in equity this Honorable Court
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                                                           deems just in the premises.

                                                                         COUNT III: INJUNCTIVE RELIEF

                                                   1 – 71. Plaintiff restates and realleges paragraphs 1 through 71 of the Statement of Facts

                                            as paragraphs 1 through 71 of this Count III as though fully alleged and set forth herein.

                                                   72 – 89. Plaintiff restates and realleges paragraphs 72 through 89 of Count I as paragraphs

                                            72 through 89 of this Count III as though fully alleged and set forth herein.

                                                   90 – 100. Plaintiff restates and realleges paragraphs 90 through 100 of Count II as

                                            paragraphs 90 through 100 of this Count III as though fully alleged and set forth herein.

                                                   101.    As set forth in Count I, above, Plaintiff has an individual right of publicity, namely,

                                            the right to control and choose whether and how to use her identity for commercial purposes,

                                            pursuant to 765 ILCS 1075/10.

                                                   102.    Defendant’s unauthorized use of Plaintiff’s identity for commercial gain in the

                                            October 20, 2022 Client Notice injured Plaintiff’s substantive interest in her individual right to

                                            publicity.

                                                   103.    Plaintiff has no adequate remedy at law because her actual and reputational

                                            damages are difficult to calculate immediately and require further time to determine, including the

                                            hiring of an expert to investigate the extent of her damages.

                                                   104.    If Defendant is not prohibited from sending further notices, emails, or other

                                            communications pretending to be from Plaintiff or otherwise posing as Plaintiff and endorsing

                                            Defendant’s or the BetterVet brand’s businesses, services, and practices, Plaintiff will suffer

                                            further irreparable serious harm.



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                                                      105.   If Defendant is not ordered to send an immediate retraction notice to the clients to

                                            whom Defendant sent the Client Notice, stating that the Client Notice was sent without her
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                                            authorization and endorsement, Plaintiff will suffer further serious harm.

                                                      106.   When Defendant sent the Client Notice posing as Plaintiff, it knew that Plaintiff

                                            had not consented to Defendant’s use of her identity after her departure and that it had no right to

                                            use her identity without her consent.

                                                      107.   Further, on information and belief, Defendant understood the consequences of

                                            impersonating Plaintiff and forging her endorsement, including the consequences of violating

                                            Illinois law and obtaining a financial benefit to which it was not entitled and at Plaintiff’s expense.

                                                      108.   Alternatively, the harm Plaintiff will suffer if Defendant continues to violate

                                            Plaintiff’s right of publicity and does not issue an immediate retraction of the Client Notice far

                                            outweighs any inconvenience or harm Defendant might suffer: (a) in not being able to continue to

                                            profit off its unauthorized and illegal use of Plaintiff’s identity while the Court determines the

                                            merits of Plaintiff’s case; and (b) having to issue a retraction of its false statements in the Client

                                            Notice.

                                                      109.   Plaintiff likely will be successful on the merits of the case as set forth more fully in

                                            Count I of this Amended Verified Complaint.

                                                      110.   Plaintiff’s original Verified Complaint, filed November 1, 2022, includes a count

                                            seeking injunctive relief similar to the relief sought in this Count III. A true and correct copy of

                                            Plaintiff’s original Verified Complaint is attached hereto and incorporated herein by reference.

                                                      111.   After filing her original Verified Complaint, Plaintiff filed her Motion for

                                            Temporary Restraining Order and Preliminary Injunction. A true and correct copy of Plaintiff’s

                                            Motion is attached hereto and incorporated herein by reference.



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                                                   112.    On November 15, 2022, the Court entered an Agreed Order, in which Plaintiff

                                            withdrew her Motion for Temporary Restraining Order and Preliminary Injunction without
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                                            prejudice. A true and correct copy of the November 15, 2022 Agreed Order is attached hereto and

                                            incorporated herein as Exhibit “H”.

                                                   113.    The November 15, 2022 Agreed Order provides that, absent further Court order,

                                            Defendant may not distribute the October 20, 2022 Client Notice or distribute any emails or

                                            communications purporting to be from Plaintiff. See Exhibit H.

                                                   114.    Given the allegations in this Amended Verified Complaint, and the parties’ prior

                                            agreement in the November 15, 2022 Agreed Order, which has been in place for several months

                                            now, it is appropriate that the Court enter a permanent order:

                                                           (a)    Prohibiting Defendant from further distributing the October 20, 2022 Client

                                                                  Notice;

                                                           (b)    Prohibiting Defendant from distributing any other notices, emails, or

                                                                  communications purporting to be from Plaintiff; and

                                                           (c)    Ordering Defendant to issue an immediate retraction of the October 20,

                                                                  2022 Client Notice to everyone to whom Defendant sent the Client Notice,

                                                                  advising that the Client Notice was sent without Plaintiff’s authorization or

                                                                  endorsement.

                                                   WHEREFORE, Plaintiff, KARIE ANNE JOHNSON, respectfully prays that this

                                            Honorable Court:

                                                   A.      Issue a preliminary and permanent injunction in Plaintiff’s favor and against

                                                           Defendant, BETTER VET LLC, a Massachusetts limited liability company: (i)

                                                           enjoining Defendant from republishing the October 20, 2022 Client Notice and/or



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                                                      sending further notices, emails, or other communications pretending to be from

                                                      Plaintiff or otherwise pretending to be Plaintiff endorsing Defendant’s and the
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                                                      BetterVet brand’s businesses, services, and clinics; and (ii) requiring Defendant to

                                                      issue an immediate retraction of the October 20, 2022 Client Notice to everyone to

                                                      whom Defendant sent the Client Notice, stating that it was sent without Plaintiff’s

                                                      authorization and endorsement; and

                                               B.     Award Plaintiff such other and further relief as in equity this Honorable Court

                                                      deems just in the premises.


                                               Plaintiff demands trial by jury.

                                                                                            Respectfully submitted,
                                                                                            ALBEE LAW PC


                                                                                    By:        /s/ Emma Y. Friebus
                                                                                            __________________________
                                                                                              One of Plaintiff’s attorneys
                                                                                            John W. Albee
                                                                                            Emma Y. Friebus
                                                                                            Albee Law PC
                                                                                            Attorney No. 58441
                                                                                            1200 Shermer Road, Suite 430
                                                                                            Northbrook, Illinois 60062
                                                                                            Phone: (312) 279-0115
                                                                                            Email: jalbee@albeelaw.com
                                                                                                   efriebus@albeelaw.com




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                                                            IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                                                COUNTY DEPARTMENT, CHANCERY DIVISION
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                                            KARIE ANNE JOHNSON,                           )
                                                                                          )
                                                   Plaintiff,                             )
                                                                                          )
                                                   v.                                     )        Case No. 2022 CH 10789
                                                                                          )
                                            BETTER VET LLC, a Massachusetts               )
                                            limited liability company,                    )
                                                                                          )
                                                   Defendant.                             )

                                                                                   CERTIFICATION

                                                   Under penalties as provided by law pursuant to Section 1-109 of the Illinois Code of Civil
                                            Procedure, the undersigned, KARIE ANNE JOHNSON, individually, certifies that she has read
                                            the above and foregoing Amended Verified Complaint and states that, to the best of her knowledge
                                            and belief, the facts contained therein are true and correct, except as to those matters stated to be
                                            on information and belief, and with respect thereto, she verily believes the same to be true.


                                            By:    __________________________________
                                                   KARIE ANNE JOHNSON, individually




                                            John W. Albee
                                            Emma Y. Friebus
                                            Albee Law PC
                                            Attorney No. 58441
                                            1200 Shermer Road, Suite 430
                                            Northbrook, Illinois 60062
                                            Phone: (312) 279-0115
                                            Email: jalbee@albeelaw.com
                                                   efriebus@albeelaw.com




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                                                            ILLINOIS SUPREME COURT RULE 222 (B) AFFIDAVIT

                                                   Pursuant to Illinois Supreme Court Rule 222 (B), counsel for the above-captioned Plaintiff
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                                            certifies that Plaintiff seeks money damages in excess of Fifty Thousand Dollars ($50,000.00).


                                                                                                Respectfully Submitted,

                                                                                                ALBEE LAW PC


                                                                                                /s/ Emma Y. Friebus
                                                                                        By: ______________________________
                                                                                               One of Plaintiff’s attorneys


                                                                                                John W. Albee
                                                                                                Emma Y. Friebus
                                                                                                Albee Law PC
                                                                                                Attorney No. 58441
                                                                                                1200 Shermer Road, Suite 430
                                                                                                Northbrook, Illinois 60062
                                                                                                Phone: (312) 279-0115
                                                                                                Email: jalbee@albeelaw.com
                                                                                                       efriebus@albeelaw.com




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                                                                       EXHIBIT
                                                                       EXHIBIT A:
                                                                               A:
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                                                              October
                                                              October 26,
                                                                      26, 2022
                                                                          2022 Email
      DATE: 3/2/2023
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                     12:59 PM




                                            On Tue, Apr 26, 2022 at 3:47 PM Wendy Koelsch <wendy@bettervet.com> wrote:
            3/2/2023 12:59




                                              Hi Joe - | apologize about the delay in sending initial drafts; they will be distributed in the next hour or so.
      DATE: 3/2/2023
FILED DATE:




                                              (It takes a much longer time to draft the initial draft of the Purchase Agreement for transactions in “PC/PLLC”
FILED




                                              states.

                                              In other words, in states (such as IL) where we (as the prospective non-veterinary owners of a veterinary
                                              practice) are required by the State's Corporate Practice rules to put in place a professional entity; (i.e., a
                                              professional corporation or professional limited liability company), with a veterinarian licensed in the State of
                                              Illinois as the PLLC's member interest holder) to operate the Practice.

                                              In this case, our PLLC - formed in the State of Illinois - is "BV Veterinary Services Illinois, PLLC".)



                                              Thanks.




                                             CpWendyBettefVet
                                                       Koelsch
                                                                                                                                                  EXHIBIT A
                                               Legal Counsel
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                                                                       EXHIBIT
                                                                       EXHIBIT B:
                                                                               B:
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                                                        PLLC
                                                        PLLC Articles
                                                             Articles of
                                                                      of Organization
      DATE: 3/2/2023
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                                                                                                                                           llinois                                      ewes                   10617073
                                                      From   LLC=5.5                                                    Limited      Liability Company            Act                   This space for use by Secretary of State.
                                                      February 2020

                                                      Secretary of State                                                Articles of Organization
                                                      Department of Business Services
                                                      Limited Liability Division                                                                                                                 FILED
                              2022CH10789
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                                                      501 S. Second St., Rm. 351                                                  Type or print clearly.
                                                      Springfield,       IL   62756
                                                                                                                                                                                                  .
                                                      217-524-8008
                                                      www.cyberdriveillinois.com                                 Filing Fee: $150                                                                JUL      2 6 2021

                                                      Payment must be made by certified                          Approved)“                                                                       JESSE WHITE
                     12:59 PM




                                                                                                                                                                                           SECRETARY OF STATE
                                                      check, cashier’s check, Illinois attorney’s
            3/2/2023 12:59




                                                      check, C.P.A.’s check or money order
                                                      payable to Secretary of State.

                                                                                                                                                                                               oe)
      DATE: 3/2/2023




                                                       1.    Limited Liability Company name (see Note 1); BY Veterinary Services Illinois, PLLC                                                        Le0458146
FILED DATE:




                                                       2.    Address of principal place of business where records of the company will be kept: (P.O. Box alone or c/o is unacceptable.)
                                                             60 Massachusetts Ave., Boston, MA 02115
FILED




                                                       3.    Articles of Organization effective on: (check one)

                                                             DF the filing date
                                                             (J    a later date (not to exceed 60 days after the filing date):
                                                                                                                                                                                Month, Day, Year

                                                       4.    Registered agent's name and registered office address:


                                                             Registered agent:          C T Corporation System
                                                             (P.O. Box alone or                     First Name                                       Middle Initial                                    Last Name
                                                             c/o is unacceptable.)
                                                             Registered office:         208 S                                                  LaSalle Street                                         Suite 814
                                                                                                    Number                                            Street                                           Suite #

                                                                                                  Chicago                                                                          IL                  60604
                                                                                                   City                                                                                                  ZIP
                                                       Note:       The registered agent must reside in Illinois. If the agent is a business entity, it must be authorized to act as agent in
                                                                   this state.


                                                       5.    Purpose(s) for which the Limited Liability Company is organized: (see Note 2)
                                                             The transaction of any or all lawful business for which Limited Liability Companies may be organized under this Act
                                                             and/or exclusively for the purpose(s) stated below:

                                                              Mobile veterinary services.




                                                                                                                                                                                                           JUL 26 202)
                                                                                                                                                                                                      DEPARTMENT OF


                                                        6.    The duration of the company is perpetual unless otherwise stated. If the operating agreement provides for a dissolution date, enter

                                                              that date here:
                                                                                                Month/Day                               Year




                                                                                                             Printed by authority of the State of Illinois. March 2020 — 1 — LLC 4.25
                                                                                                                                                                                                                   EXHIBIT B
                                                                                                                                                                                                                   EXHIBIT B

                                            1L.052 - 08/10/2020 Wolters Kluwer Online
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                                            LLC-5.5

                                            7.   Qptional: Other provisions for the regulation of the internal affairs of the company: (If additional space is needed, use standard sized
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                                                 paper.)
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                                            8.   The Limited Liability Company has or will have on the effective date of filing one or more members.

                                            9.   Namefs) and business address(es) of the manager(s) and any member with the authority of manager:
FILED DATE:




                                                      Dr. Lisa Danielle Cimino, DVM, 66 Massachusetts Ave., Boston, MA 02215
                                                 Name                                                  Number & Street                                      City                 State            ZiP
FILED




                                                 Name                                                  Number & Street                                      Oity                 State            ZiP


                                                  Name                                                 Number & Street                                      Clty                 State            ZiP


                                                  Name                                                 Number & Steat                                       Cty                  State            zip

                                                  Name                                                 Number & Street                                      City                 State            zip
                                                                                                       (if additional space is nesdéd, use standard sized paper.)

                                            10, Name and Address of Organizer(s):
                                                 | affirm, under penalties of perjury, having authority to sign hereto, that these Articles of Organization are to the best of my knowledge
                                                 and belief, true. correct and complete.


                                                 Dated: July 2!                                                  _ 2024
                                                                               Month/Day                                      Year

                                                                                       ~               ‘    we                       ;



                                                 1.              .                                                        DA                 1,   60 Massachusetts Ave.
                                                                                           Signature                      :                            Number                    Street

                                                        Dr. Lisa Danielle Cimino, President                                                       Boston
                                                                                Name and Title (type or print)                                                            City

                                                                                                                                                                MA                        02115
                                                                     § organizer is signing tor a company or other entity,                                   State                         ZIP
                                                                               State name of company or entity.                          :

                                                 2.                                                                                          2.
                                                                                           Signature                                                   Numbes                    Street


                                                                                     Name (type or print}                                                                 City



                                                                      If organizer is’ signing for a company or other entity,                                State                         ZIP
                                                                                 state name of company or entity.

                                            Note 1: The limited liability company name cannot contain any of the following terms or abbreviations including: Corporatian, Incorporated.
                                            LTD., Co. or Limited Partnership. The name must contain the term Limited Liability Company, LLC or L.L.C, For the following two entity
                                            types: a company providing professional services licensed by the Illinois Department of Financial and Professional Regulation must instead
                                            contain the term or.abbreviation Professional Limited Liability Company, PLLC or P.L.L.C. The name of a worker cooperative shail end
                                            with the term or abbreviation Limited Worker Cooperative Association, LWCA or L.W.C.A,
                                                                                                Ls

                                            Note 2: A professional limited Siability company must state the specific professional service or related professional services to be rendered
                                            by the professional limited liability company.
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                                                                       EXHIBIT
                                                                       EXHIBIT C:
                                                                               C:
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                                                                May
                                                                May 10,
                                                                    10, 2022
                                                                        2022 Email
      DATE: 3/2/2023
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                                            Wendy Koelsch <wendy@bettervet.com>                                                  Tue, May 10, 2022 at 10:06 AM
                                            To: Joe Johnson <jjohnson@vipvetvisit.com>
                                            Cc: "Dr. Karie Johnson" <kjohnson@vipvetvisit.com>, Joseph Beer <jbeerlaw@gmail.com>


                                              Hi Joe - Thanks for the update regarding the document drafts.
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                                              Considering that Dr. Dani's Illinois license may not be issued in time for the scheduled closing, | would like to suggest
                                             that Dr. Karie act as the PC Stockholder on a short-term basis until Dr. Dani's license application gets approved.
                     12:59 PM




                                             By way of background, at VetCor, where | worked for 25 years, the first veterinary practice owner/Seller in a “PC” state
            3/2/2023 12:59




                                             would invariably become our “PC” stockholder.
      DATE: 3/2/2023




                                             Most of them did so indefinitely. (In fact, the doctor who came on board with VetCor in the State of NY continues to be
                                             the PC Stockholder for the past 20 years.)
FILED DATE:
FILED




                                              Please note the following for your consideration:

                                              - One of the PC documents is a "Stock Transfer", that gets signed "in blank" by the PC Stockholder in advance; and
                                              we hold onto it until that time when the PC Stockholder will be transferring their shares to the successor veterinarian.

                                              - (When | was at VetCor), we noted that, practically speaking, there is virtually no interaction or activity with the State
                                              Veterinary Boards for PC Stockholders.

                                              - We, at BetterVet, have a Certificate of Insurance that we can provide     - evidencing Professional Liability insurance
                                              coverage in the amount of $1M;

                                              - Moreover, the PC documents contain further protection in the indemnification provisions covering the PC Stockholder
                                              in full.




                                              Please let me know if you have any questions regarding the above suggestion.

                                              Thanks.




                                             <0) BettefVet
                                              Wendy Koelsch
                                               Legal Counsel




                                                                                                                                                EXHIBIT C
                                                                                                                                                EXHIBITC
                                            Case: 1:23-cv-02044 Document #: 1-1 Filed: 03/31/23 Page 33 of 55 PageID #:38




                                                                       EXHIBIT
                                                                       EXHIBIT D:
                                                                               D:
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                                                                May 19,
                                                                    19, 2022
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                                            On Thu, May 19, 2022 at 7:20 PM Wendy Koelsch <wendy@bettervet.com> wrote:



                                            Hello All,
                              2022CH10789
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                                            (Following up on my telephone conversation yesterday with Joe), attached are the (4) drafted "PLLC" documents,
                                            for your review and comment.
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                                            As we had discussed, certain states have corporate practice of veterinary medicine rules that do not allow us
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                                            (BetterVet) to utilize a limited liability company (LLC) (i.e., owned by non-veterinarians) to purchase
                                            veterinary practice assets; instead we are required to form a professional entity (i.e., professional corporation
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                                            (PC) or professional limited liability company (PLLC)) for such veterinary assets purchase. (The PLLC would enter
                                            into an Administrative Services Agreement arrangement with BetterVet LLC (“the LLC”), with the LLC being the
                                            Manager.)
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                                            Accordingly, on July 26, 2021, we filed a Certificate of Formation (with the IL SOS) - effectively forming an Illinois
                                            PLLC., called "BV Veterinary Services Illinois, PLLC’.

                                            (Fyi:   The filed Certificate is attached as the 5th attachment hereto.)



                                            As drafted, Dr. Karie would act as the Membership Interest holder, Sole Member and officer - until such time as Dr.
                                            Dani Cimino is issued her Illinois Veterinary Board license and can then have the PLLC membership interest
                                            transferred from Dr. Karie to Dr. Dani. (This would be easy and quick to accomplish, since Dr. Karie would already
                                            have signed the Assignment of Membership Interests” (last page of Membership Interest Agreement) — “in
                                            blank’ (i.e.., her signature witnessed, but no date inserted in the document upon signing).



                                            Please feel free to let me know of any questions re: the drafted docs.



                                            Thanks.




                                            Best regards,

                                            Wendy


                                            LO> BetteFVet




                                                                                                                                      EXHIBIT D
                                                                                                                                      EXHIBIT
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                                                                       EXHIBIT
                                                                       EXHIBIT E:
                                                                               E:
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                                                   Administrative
                                                   Administrative Services
                                                                  Services Agreement
      DATE: 3/2/2023
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                                                                                    ADMINISTRATIVE         SERVICES AGREEMENT

                                                                  This Administrative Services Agreement (this “Agreement’), is entered into this June 6,
                              2022CH10789
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                                                         2022, by and between Better Vet LLC, a Massachusetts limited liability company qualified to do
                                                         business in the State of Illinois (the “Manager”), and BV Veterinary Services Illinois, PLLC,
                                                         an Illinois professional limited liability company (the “PLLC’”).

                                                                 WHEREAS, the PLLC is engaged in the business of providing, among                 other things,
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                                                         veterinary services and related activities in the State of Illinois (the “Practice”);
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                                                                WHEREAS, the PLLC desires to obtain from the Manager, and the Manager desires to
                                                         provide to the PLLC, the benefit of the Manager’s expertise in the administration of practices
                                                         similar to the Practice;
FILED DATE:




                                                                 WHEREAS, the PLLC desires to obtain a license to use the proprietary name “BetterVet”
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                                                         in connection with the Practice from the Manager, and the Manager desires to provide the PLLC
                                                         with such a license;

                                                                 WHEREAS, the PLLC desires to obtain from the Manager, and the Manager desires to
                                                         provide to the PLLC, certain equipment, supplies and inventory needed to operate the Practice;
                                                         and

                                                                WHEREAS, the PLLC and the Manager wish to enter into this Agreement on the terms
                                                         and conditions set forth herein.

                                                                  NOW, THEREFORE, in consideration of the premises and the mutual covenants and
                                                         agreements herein set forth, the parties hereto, intending to be legally bound, hereby agree as
                                                         follows:

                                                                                                         ARTICLE   1

                                                                                               RELATIONSHIP OF PARTIES

                                                                  1.1      Responsibilities of Parties. The parties agree that the PLLC will provide, and shall
                                                         be solely responsible for providing, all professional veterinary services for the Practice, and the
                                                         Manager will be responsible only for administrative services (as further described in this
                                                         Agreement). Nothing contained in this Agreement shall be construed as permitting or providing
                                                         for the ownership, establishment, operation or management by the Manager of the professional
                                                         veterinary services of the Practice, which services shall at all times be the sole responsibility of
                                                         the PLLC; provided, however, that pursuant to its engagement hereunder, the Manager shall be
                                                         the exclusive provider of all administrative services and shall control all aspects of the PLLC’s
                                                         business other than those aspects which relate directly to the provision of professional veterinary
                                                         services. Without limiting the generality of the foregoing, the PLLC shall be solely responsible
                                                         for all activities described in Section 2.4 of this Agreement.

                                                                  1.2    Relationship of Parties. The PLLC and the Manager are not joint venturers,
                                                         partners, employees or agents of each other and, except as provided herein, neither party shall have
                                                         any authority to bind the other.
                                                                                                                                                  EXHIBIT E
                                                                                                                                                  EXHIBIT
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                                                                  1.3.     Practice. The PLLC agrees to conduct the Practice in compliance with all
                                                         applicable laws, rules and ordinances, including with respect to the licensing and certification of
                                                         its veterinarians.
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                                                                                                         ARTICLE 2

                                                                                              SERVICES OF THE MANAGER
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                                                                  2.1    Covered Services. The Manager, unless otherwise prohibited by law, shall control
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                                                         all aspects of, and shall provide to the PLLC, the following services, premises and assets (such
      DATE: 3/2/2023




                                                         services, premises and assets are hereinafter referred to collectively as the “Covered Services”):

                                                                         a.      General Administrative Services. Overall day-to-day supervision, conduct
FILED DATE:




                                                         and management of the general administrative services required in connection with the business
                                                         of the Practice, including supervision of the non-professional services and personnel described
FILED




                                                         below.

                                                                          b.     Personnel.  Provision of all personnel (other than licensed or certified
                                                         professionals, collectively, the “Professional Personnel’) needed to operate and support the
                                                         Practice, such as receptionists and secretarial, clerical, purchasing and marketing personnel
                                                         (collectively, the “Administrative Personnel’). The Manager shall have the sole and exclusive
                                                         responsibility for determining the salaries and fringe benefits of all Administrative Personnel
                                                         provided hereunder, and for paying such salaries and providing such fringe benefits. In recognition
                                                         of the fact that the Administrative Personnel provided to the PLLC under this Agreement may
                                                         from time to time perform services for others, this Agreement shall not prevent the Manager from
                                                         performing such services for others or restrict the Manager from so using the Administrative
                                                         Personnel provided to the PLLC under this Agreement. The Manager will make every effort
                                                         consistent with sound business practices to honor the specific requests of the PLLC with regard to
                                                         the assignment of the Manager’s employees to the PLLC; however, the Manager reserves the sole
                                                         right to determine the assignment of its employees. Further, the Manager, in its sole discretion,
                                                         may require each of its employees assigned to the PLLC to perform several of the Covered Services
                                                         functions and duties simultaneously.

                                                                         c.      Professional Personnel. Assisting the PLLC in establishing guidelines for
                                                         the selection, hiring and firing of the Professional Personnel of the PLLC, and recruiting and
                                                         evaluating prospective Professional Personnel; provided, however, that the PLLC shall be solely
                                                         responsible for all decisions related to the hiring and firing of Professional Personnel, and all of
                                                         the Professional Personnel shall be employees of, or independent contractors to, the PLLC.

                                                                       d.      Training. Training of all Administrative Personnel and assistance to the
                                                         PLLC in arranging for training and continuing education for Professional Personnel.

                                                                          e.      Administrative and Fiscal Services. Provision of general administrative,
                                                         business and fiscal services to the PLLC in connection with the operation of the Practice, including
                                                         patient billings, collecting billings, accounting, bookkeeping, budgeting, record keeping, accounts
                                                         receivable and accounts payable processing, electronic data processing and such other services as
                                                         the PLLC may from time to time require.
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                                                                         f.     Annual Budget. Prepare in reasonable detail annual operating and capital
                                                         budgets for the PLLC that shall be delivered to the PLLC within thirty (30) days after the end for
                                                         each fiscal year, with the Manager retaining the final authority with respect to budget items
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                                                         Notwithstanding the foregoing, consistent with Section 5.2, Manager shall consult with, and
                                                         receive approval from PLLC with respect to budget items related to compensation and payments
                                                         to the Professional Personnel.

                                                                        g.      Patient Records. Maintenance of patient records (which shall at all times
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                                                         remain the property and under the control of the PLLC) in accordance with applicable Illinois law
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                                                         and provision of record retrieval and monitoring services in connection with the Practice to assist
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                                                         the PLLC in connection with the Practice in utilization and quality assurance reviews in
                                                         accordance with instructions and guidelines issued by the PLLC.
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                                                                         h.     Quality Control. Assistance to the PLLC in the development of appropriate
                                                         quality control programs, including development of performance standards, sampling techniques
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                                                         for case review, and preparation of appropriately documented studies in connection with the
                                                         Practice.

                                                                         1.     Marketing, Development and Program Negotiation.          Marketing of the
                                                         professional services provided by the PLLC in connection with the Practice to potential customers
                                                         through any and all media determined to be beneficial to the PLLC (the “Marketing Services”);
                                                         provided, however, that the PLLC shall be consulted in connection with any such marketing
                                                         activities. The Marketing Services to be provided by the Manager include, but are not necessarily
                                                         limited to, the placement of advertisements in magazines, newspapers and other publications,
                                                         undertaking a telemarketing campaign and the holding of seminars.

                                                                          j.    Equipment and Supplies.           Provision of all inventory (except for
                                                         pharmaceutical and other prescription drug inventory), equipment, furnishings and supplies
                                                         reasonably necessary for the efficient operation of the Practice. Title to such inventory, equipment,
                                                         furnishings and supplies shall at all times remain in the Manager. At the end of the term of this
                                                         Agreement, the Manager shall retain and the PLLC shall have no further right to use or possess,
                                                         such inventory, equipment, furnishings and supplies as shall not have been consumed in the day-
                                                         to-day operations of the Practice.

                                                                         k.      Malpractice Insurance. Assistance to the PLLC in obtaining malpractice
                                                         coverage for the PLLC in connection with the Practice, its employees and agents in an amount not
                                                         less than One Million Dollars ($1,000,000). The Manager shall also assist the PLLC in obtaining
                                                         general liability and property insurance in usual and customary amounts for the PLLC in
                                                         connection with the Practice. The Manager shall, on behalf and in the name of the PLLC, pay the
                                                         premiums for all such insurance and shall provide the PLLC with evidence of payment on a
                                                         periodic basis or as reasonably requested.

                                                                       1.      Professional Personnel Recruiting.      Assistance to the PLLC in recruiting
                                                         and screening prospective Professional Personnel.

                                                                        m.     Protecting Goodwill.  All necessary steps to preserve and protect the
                                                         reputation and goodwill associated with the PLLC in connection with the Practice, including
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                                                         assistance in the monitoring of utilization and quality of services provided by the PLLC in
                                                         connection with the Practice, and shall assist the PLLC to take all steps necessary to remedy any
                                                         and all deficiencies in the efficiency or the quality of the services provided in connection with the
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                                                         Practice. This section shall not be construed as permitting the Manager to influence or control the
                                                         Practice, the Professional Personnel or the quality of professional services rendered by the PLLC,
                                                         which shall at all times remain the sole responsibility of the PLLC.

                                                                         n.       Operations and Regulatory Reports. Delivery to the PLLC of operations
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                                                         reports in connection with the Practice containing such information as the PLLC may reasonably
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                                                         request. The Manager shall timely assist the PLLC in the preparation of all written reports and
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                                                         information that shall be lawfully required by any government body or agency having jurisdiction
                                                         over the Practice or the PLLC in connection with the Practice. The PLLC shall review and approve
                                                         all such required reports and/or information before any dissemination of the same.
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                                                                         0.     Processing Disputes. Administer and process all disputes, grievances and
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                                                         complaints between the PLLC in connection with the Practice and all third parties, subject at all
                                                         times to the review and final approval of the PLLC.

                                                                        p.      Government Regulations; Licenses. To the extent known and material to
                                                         the operation of the PLLC and the Practice, the Manager shall promptly notify the PLLC of any
                                                         changes which may occur in relevant laws or regulations of any government, governmental body
                                                         or agency having jurisdiction over the Practice or the PLLC in connection with the Practice. The
                                                         foregoing shall not in any way limit the PLLC’s continuing professional and legal responsibility
                                                         to comply with, and be aware of, all licensing, regulatory, professional or other requirements
                                                         applicable to individuals licensed to provide veterinary services. File annual reports to maintain
                                                         the PLLC’s status in good standing with the Secretary of State.

                                                                         q.     Advances to PLLC. The Manager shall make advances to the PLLC as
                                                         required by Section 5.3 hereof. Such advances shall bear a reasonable rate of interest, as mutually
                                                         agreed to by the Manager and the PLLC, payable monthly.

                                                                        The Covered Services shall include assumption of all obligations of the PLLC in
                                                         connection with the Practice to provide administrative services to professional personnel who are
                                                         not employed by the PLLC. The Manager may perform the Covered Services directly or by
                                                         reimbursing the PLLC for the cost of any Covered Services.

                                                                 2.2    Performance of Services. The Manager is hereby expressly authorized to perform
                                                         the Covered Services hereunder in whatever reasonable manner it deems appropriate to meet the
                                                         day-to-day administrative needs of the Practice.

                                                                  2.3     Events Excusing Performance.     The Manager will not be liable to the PLLC for
                                                         failure to perform any of the services required herein in the event of strikes, lockouts, calamities,
                                                         acts of God, unavailability of supplies or other events over which the Manager has no control for
                                                         so long as such event continues and for a reasonable period of time thereafter.

                                                                  2.4    Excluded Services. The parties hereto expressly acknowledge that the provision of
                                                         all professional services, including, but not limited to, veterinary services by the PLLC, shall be
                                                         separate and independent from the provision of administrative, fiscal and support services by the
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                                                         Manager, and the PLLC shall be solely and exclusively responsible for all professional veterinary
                                                         services rendered to patients of the Practice. Without limiting the generality of the foregoing, the
                                                         parties acknowledge that the PLLC shall be solely responsible for setting all professional standards
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                                                         of the Practice and shall be responsible for the employment, supervision and discharge of all
                                                         Professional Personnel and that the Manager shall have no responsibility for the conduct or
                                                         supervision of the professional services of the Practice.

                                                                 2.5     Use of Name and Software.         The Manager hereby grants to the PLLC a
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                                                         nontransferable, nonexclusive license to use the proprietary name “BetterVet” and any other
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                                                         proprietary names owned by the Manager and used by the PLLC in connection with the Practice,
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                                                         along with any and all trademarked symbols for the term of this Agreement (the “License”) and
                                                         use of the BetterVet app. All applicable common law and statutory rights in the proprietary name
                                                         “BetterVet” and any other proprietary names owned by the Manager and used by the Practice and
FILED DATE:




                                                         their accompanying symbols, including, but not limited to, rights relating to trademark, service
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                                                         mark, patent and copyright, and use of the BetterVet app, shall be and remain the sole property of
                                                         the Manager.

                                                                                                         ARTICLE 3

                                                                          PROPRIETARY INTEREST AND RIGHTS OF THE MANAGER

                                                                  3.1     Competition.      During the term of this Agreement,      neither the PLLC     nor any
                                                         member of the PLLC        shall, directly or indirectly, own an interest in, administer, manage, advise,
                                                         assist, operate, join, control, participate in, or be connected in any manner with any corporation,
                                                         limited liability company, partnership, proprietorship, firm, association, person or entity providing
                                                         mobile veterinary services or administrative services in competition with the PLLC or the Manager
                                                         or any of their affiliates, successors or assigns.

                                                                  3.2.    Confidentiality. The PLLC acknowledges and agrees that the Manager is entitled
                                                         to prevent its competitors from obtaining and utilizing its trade secrets. The PLLC agrees to hold
                                                         the Manager’s trade secrets in strictest confidence and not to disclose them or allow them to be
                                                         disclosed directly or indirectly to any person or entity other than persons engaged by the PLLC or
                                                         the Manager. The PLLC acknowledges its obligations to the Manager and the confidentiality of
                                                         its relationship with the Manager and of any information relating to the services and business
                                                         methods of the Manager which it may obtain during the term of this Agreement. The PLLC shall
                                                         not, either during the term of this Agreement or at any time after the expiration or sooner
                                                         termination of this Agreement, except as required by law, disclose to anyone other than employees,
                                                         advisors having a fiduciary relationship with PLLC, or independent contractors of the PLLC or
                                                         the Manager any confidential or proprietary information or trade secret obtained by the PLLC from
                                                         the Manager; provided, however, that such confidential or proprietary information or trade secret
                                                         shall not include information if and to the extent such information or trade secret (i) is public
                                                         knowledge or becomes available to the public other than as a result of a disclosure by the PLLC;
                                                         or (11) was in the PLLC’s possession prior to the date hereof. The PLLC also agrees to place any
                                                         persons to whom such information is disclosed for the purpose of performance under legal
                                                         obligation to treat such information as strictly confidential.
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                                                                                                         ARTICLE 4

                                                                                             BILLING AGENT AGREEMENT
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                                                                  4.1     Professional and Other Fees.     The PLLC   shall, in consultation with the Manager,
                                                         establish a schedule of fees and charges for the Practice’s veterinary services.

                                                                 4.2    Billings. Billings of the Practice for all services rendered by the PLLC shall be by
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                                                         and in the name of the PLLC.
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                                                                  43     Billing and Collection Agent. The Manager shall serve as billing and collection
                                                         agent for the PLLC in connection with the Practice. The Manager shall establish a depository bank
                                                         account on behalf of the Practice and will deposit into such account collected fees generated from
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                                                         the Practice. As provided for in standing instructions issued by the PLLC to the bank where such
                                                         depository account is located, the Manager may withdraw all monies daily from said bank account
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                                                         for processing at a central location to be used for payment of the PLLC’s expenses in connection
                                                         with the Practice, including the amounts payable to the Manager pursuant to Section 5.1 hereof
                                                         and any amounts advanced to the PLLC pursuant to Section 5.3 hereof. Said processing will
                                                         consist of establishing and maintaining a book account for the PLLC in connection with the
                                                         Practice showing all fee collections and expense disbursements made by the Manager at the
                                                         PLLC’s request. The Manager will provide the PLLC with monthly accounting statements for the
                                                         Practice reflecting such processing.

                                                                 4.4       Reports.   The Manager shall provide the PLLC with unaudited financial statements
                                                         for the Practice.

                                                                   4.5    Security for the Manager’s Compensation.        To secure the prompt and orderly
                                                         payment of any amounts owing by the PLLC to the Manager pursuant to this Agreement, or to
                                                         facilitate the Manager in obtaining working capital loans, the PLLC hereby agrees to grant, at the
                                                         request of the Manager, a security interest to the Manager or to a third party designated by the
                                                         Manager, in all its existing and hereafter created accounts receivable, all cash or non-cash proceeds
                                                         therefrom, all insurance policies and proceeds relating thereto, and all of the PLLC’s rights as an
                                                         unpaid provider of services, whether now existing or hereafter created or acquired (collectively,
                                                         the “Collateral”’). The PLLC agrees to execute any and all documents necessary to perfect such
                                                         security interest, including, but not limited to, UCC financing statements.

                                                                                                         ARTICLE 5

                                                                                                           FEES

                                                                  5.1    Fees Payable to the Manager.   The PLLC agrees to pay the Manager for the
                                                         provision of the Covered Services and the License and all other services provided hereunder as
                                                         follows:

                                                                        a.    An annual license fee for the License in an amount equal to five percent
                                                         (5%) to fifteen (15%) percent of the then “fair market value” of the practices subject to this
                                                         Agreement (such percentage amount, the “License Fee Percentage”), such fair market value
                                                         determination based on industry standard valuation methodologies applied consistently to each
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                                                         particular location, and the definitive License Fee Percentage will be determined based on several
                                                         factors including, without limitation, the financial success of the practice for that year, the growth
                                                         of the practice, the location of the practice, the period of years in which the practice has been in
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                                                         operation, the addition of any “specialty” veterinary services offered at such practice, and such
                                                         other key operational and demographic data, as the PLLC and the Manager may from time to time
                                                         mutually agree upon;

                                                                          b.      Monthly reimbursement of all the Manager’s direct costs (i.e., payroll,
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                                                         supplies, travel, etc.) allocated to the PLLC, in the Manager’s sole discretion with a 15% markup
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                                                         for overhead and administration on such costs;
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                                                                        c.      Monthly reimbursement of all the Manager’s direct costs of acquiring
                                                         and/or leasing and maintaining furniture, fixtures and equipment provided to the Practice;
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                                                                        d.      Monthly reimbursement of all the Manager’s direct costs incurred in the
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                                                         provision of the Marketing Services, with a ten percent (10%) markup for overhead and
                                                         administration and a fifteen percent (15%) markup for profit on such costs; and

                                                                         e.      A   practice   location    administrative   fee    for the    practices  (the
                                                         “Administration Fee) of $100,000 per year in the aggregate, payable in equal monthly
                                                         installments on the first day of each month of this Agreement, and subject to renegotiation by
                                                         either party hereto on each anniversary of this Agreement. The Administration Fee is intended to
                                                         compensate the Manager for its unallocated overhead and a reasonable profit. For example, on a
                                                         practice-by-practice basis each year, the Manager may have unanticipated costs and expenses due
                                                         to additional management time required for certain practice locations, additional safety training
                                                         due to a high incidence of workplace injuries, higher than normal recruiting resources due to acute
                                                         veterinarian staffing needs, unanticipated litigation or regulatory matters, etc. Such unanticipated
                                                         costs and expenses shall be factored into the final determination of the Administrative Fee each
                                                         year.

                                                                 5.2     Fair and Reasonable Compensation of the PLLC for Services of Professional
                                                         Personnel. The parties hereto agree that the PLLC shall have the right to fairly and reasonably
                                                         compensate its Professional Personnel for their professional services. Compensation for the
                                                         Professional Personnel shall be determined in accordance with employment agreements and other
                                                         employment arrangements entered into between the PLLC, in consultation with the Manager, and
                                                         the Professional Personnel.

                                                                  5.3    Remittances. To the extent the PLLC shall not generate adequate revenues to meet
                                                         the PLLC’s ongoing operating expenses, including the fees payable to the Manager under Section
                                                         5.1 of this Agreement and compensation for professional services pursuant to Section 5.2 of this
                                                         Agreement, the Manager shall advance to the PLLC or arrange for such amounts as may be
                                                         required. To the extent that the Manager advances any funds to the PLLC pursuant to this Section
                                                         5.3, such advances shall be evidenced by interest-bearing demand note(s) from the PLLC in favor
                                                         of the Manager and shall be secured by the Collateral as provided in Section 4.5 hereof.
                                                         Notwithstanding the foregoing, the Manager’s aggregate fees listed in this Section 5 shall never
                                                         exceed and shall be capped at the total annual profits of the PLLC in any particular year after all
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                                                         other PLLC expenses have been paid and satisfied and as a result the PLLC shall not be liable to
                                                         pay any such deficiency of fees to Manager, if one exists.
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                                                                 5.4     Periodic Adjustment of Compensation.         The parties hereto recognize that the
                                                         Practice may change in size and scope over the term of this Agreement, which may necessitate
                                                         adjusting the fees provided for herein. Therefore, the parties shall review the compensation to the
                                                         Manager no less frequently than annually and more frequently at the request of the Manager or the
                                                         PLLC, if changes in the business of the PLLC or services by the Manager warrant such more
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                                                         frequent review, and may agree in writing to modification of the compensation. Such review shall
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                                                         consider the scope of operations pursuant to this Agreement at the time of review, the financial
      DATE: 3/2/2023




                                                         success of the Manager and the PLLC, changes in the purchasing power of money, the size and
                                                         number of facilities being supplied by the Manager, the scope of the Marketing Services, the size
                                                         of the Administrative Personnel workforce and the expenses and risks to the respective parties of
FILED DATE:




                                                         performing this Agreement.
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                                                                                                         ARTICLE 6

                                                                                                TERM AND TERMINATION

                                                                  6.1     Term.    Unless sooner terminated in accordance with Section 6.2 hereof, the term of
                                                         this Agreement shall be for a period of ten (10) years, and shall automatically renew for additional
                                                         five (5) year terms until terminated in accordance with Section 6.2(d) hereof.

                                                                6.2.  Termination. Notwithstanding any provision of this Agreement to the contrary, this
                                                         Agreement may be terminated as set forth below:

                                                                         a.      In the event of a material breach of this Agreement by either party as a result
                                                         of such party’s gross negligence or fraud, the other party may, at any time commencing sixty (60)
                                                         days after written notice of the breach has been given to the breaching party, terminate this
                                                         Agreement by delivery to the breaching party of a further written notice of termination; provided,
                                                         however, that if the breaching party, prior to receiving such notice of termination, has begun and
                                                         is diligently continuing good faith efforts to cure the breach, this Agreement shall remain in full
                                                         force and effect;

                                                                        b.     If either party is determined by a court, administrative body or peer review
                                                         organization having jurisdiction, to have engaged in conduct that results in material harm to the
                                                         PLLC and constitutes (1) a felony or other crime involving moral turpitude, including fraud, theft,
                                                         or embezzlement or (ii) a failure to act in an ethical or professional manner, in keeping with
                                                         accepted veterinary medicine standards, then immediately upon notice by the other party;

                                                                         c.     If either party commences a voluntary case under bankruptcy, insolvency
                                                         or similar law, or any involuntary case is commenced against either party under any bankruptcy,
                                                         insolvency or similar law and such involuntary case is not dismissed within thirty (30) days after
                                                         filing, then immediately upon notice from the other party; or

                                                                         d.      After the initial ten (10) year term of this Agreement, either party may also
                                                         terminate this Agreement, with or without cause, by giving the other written notice of termination
                                                         not less than sixty (60) days prior to the effective date of termination.
                                            DocuSign Envelope ID: 19FB11E6-6870-4984-84F2-4FDE4969279B
                                                             Case: 1:23-cv-02044 Document #: 1-1 Filed: 03/31/23 Page 44 of 55 PageID #:49




                                                                 6.3     Rights Upon Termination. The termination of this Agreement shall not release or
                                                         discharge either party from any obligation, debt or liability which shall have previously accrued
                                                         and remains to be performed upon the date of termination.
                              2022CH10789
                           PM 2022CH10789




                                                                                                         ARTICLE 7

                                                                                                   GENERAL PROVISIONS
                     12:59 PM




                                                                  7.1     Indemnification.     Each party shall indemnify, hold harmless and defend the other
            3/2/2023 12:59




                                                         party from and against any liability, loss, claims, lawsuits, damages, injury, cost, expense or other
      DATE: 3/2/2023




                                                         detriment arising out of or incident to the performance or nonperformance under this Agreement
                                                         by such indemnifying party, its employees, Professional Personnel (in the case of the PLLC),
                                                         Administrative Personnel (in the case of the Manager), and agents, including, without limitation,
FILED DATE:




                                                         all consequential damages and attorneys’ fees; provided, however, neither party shall be liable to
                                                         the other under this Section 7.1 for any claim covered by insurance, except to the extent liability
FILED




                                                         of such party exceeds the amount of such coverage.

                                                                 7.2     Assignment. The rights conferred upon the PLLC hereunder may not be transferred
                                                         or assigned without the prior written consent of the Manager, and any assignment in violation of
                                                         this Section 7.2 shall be void. This Agreement shall be assignable by the Manager.

                                                                 7.3     Notices. All notices, requests or instructions hereunder shall be in writing and
                                                         delivered personally or sent by registered or certified mail, postage prepaid, overnight delivery
                                                         service or telecopy as follows:

                                                                          (1)      If to the PLLC:

                                                                                   Dr. Karie    Johnson, Sole Member
                                                                                   PO Box:
                                                                                   15128 S. La Grange Rd. #2053
                                                                                   Orland Park, IL 60462
                                                                                   Email: kjohnson@vipvetvisit.com

                                                                                   And

                                                                                   BV Veterinary Services Illinois, PLLC
                                                                                   60 Massachusetts Avenue
                                                                                   Boston, MA 02115
                                                                                   Attn: Bruce Herzfelder, Asst. Secretary
                                                                                   Telephone No.: 617-306-5051
                                                                                   Email: bruce@bettervet.com

                                                                                   with copy to:
                                                                                   Joseph J. Beer, (representing Dr. Karie   Johnson)
                                                                                   Attorney at Law
                                                                                   J.J Beer, LLC
                                                                                   314 S. Taylor Ave
                                            DocuSign Envelope ID: 19FB11E6-6870-4984-84F2-4FDE4969279B
                                                             Case: 1:23-cv-02044 Document #: 1-1 Filed: 03/31/23 Page 45 of 55 PageID #:50




                                                                                   Oak Park, IL 60527

                                                                          (2)      If to the Manager:
                              2022CH10789
                           PM 2022CH10789




                                                                                   BetterVet LLC
                                                                                   60 Massachusetts Avenue
                                                                                   Boston, MA 02115
                                                                                   Attn: Bruce Herzfelder and Carolina Goncebat
                     12:59 PM




                                                                                   Telephone No.:        617-306-5051
            3/2/2023 12:59




                                                                                   Email:   bruce@bettervet.com and carolina@bettervet.com
      DATE: 3/2/2023




                                                         Any of the above addresses may be changed at any time by notice given as provided above;
                                                         provided, however, that any such notice of change of address shall be effective only upon receipt.
FILED DATE:




                                                         All notices, requests or instructions given in accordance herewith shall be deemed received on the
                                                         date of delivery, if hand delivered, five (5) business days after the date of mailing, if mailed, one
FILED




                                                         (1) business day after the date of mailing if sent by overnight delivery, and the same business day
                                                         if sent by email during normal business hours.

                                                                 7.4    Entire Agreement. This Agreement and the documents referred to herein contain
                                                         the entire agreement between the parties hereto with respect to the transactions contemplated
                                                         hereby, and no modification hereof shall be effective unless in writing and signed by the party
                                                         against which it is sought to be enforced.

                                                                 7.5     Further Assurances. Each of the parties hereto shall use such party’s best efforts to
                                                         take such actions as may be necessary or reasonably requested by the other party hereto to carry
                                                         out and consummate the transactions contemplated by this Agreement.

                                                                 7.6    Attorneys’ Fees. Each of the parties hereto shall bear such party’s own expenses
                                                         in connection with this Agreement and the transactions contemplated hereby.

                                                                 7.7     Governing Law. This Agreement shall be governed by and construed in accordance
                                                         with the laws of the State of Illinois applicable to agreements made and to be performed entirely
                                                         within such State, without regard to any conflict of laws principles which would apply the laws of
                                                         any other jurisdiction.

                                                                  7.8     Article and Section Headings. The article and section headings in this Agreement
                                                         are inserted solely for convenience of reference and are not a part of and are not intended to govern,
                                                         limit or aid in the construction of any term or provision hereof.

                                                                  7.9    Waiver. The waiver of any covenant, condition or duty hereunder by either party
                                                         shall not prevent that party from later insisting upon full performance of the same.

                                                                  7.10   Amendment. No amendment in the terms of this Agreement shall be binding on
                                                         either party unless in writing and executed by the duly authorized representatives of each party.

                                                                 7.11   Counterparts. This Agreement may be executed in counterparts, each of which
                                                         shall be deemed an original, and both of which taken together shall constitute one and the same
                                                         instrument.



                                                                                                                10
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                                                                 7.12   Severability. In the event that any provision of this Agreement shall be held to be
                                                         void or unenforceable for any reason, the parties shall negotiate in good faith for a period of up to
                                                         one hundred eighty (180) days in order to arrive at a mutually acceptable substitute provision.
                              2022CH10789
                           PM 2022CH10789




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                                                                 IN WITNESS WHEREOPF, the parties hereto have caused this Agreement to be executed
                                                         by their duly authorized representatives as of the date first above written.
                              2022CH10789
                           PM 2022CH10789




                                                                                                         PLLC:

                                                                                                         BV VETERINARY SERVICES ILLINOIS,
                                                                                                         PLLC


                                                                                                         Coens
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                                                                                                             DocuSigned   by:
            3/2/2023 12:59




                                                                                                         By: Karte Johnson, D.V.M.
      DATE: 3/2/2023




                                                                                                         Title:   Member
FILED DATE:




                                                                                                         MANAGER:
FILED




                                                                                                         BETTERVET LLC
                                                                                                            DocuSigned    by:


                                                                                                          bru Kuraflder
                                                                                                             UTAD/SEFOS/43A.

                                                                                                         By: Bruce Herzfelder
                                                                                                         Title: President
                                            Case: 1:23-cv-02044 Document #: 1-1 Filed: 03/31/23 Page 48 of 55 PageID #:53




                                                                       EXHIBIT
                                                                       EXHIBIT F:
                                                                               F:
                              2022CH10789
                           PM 2022CH10789




                                                               October
                                                               October 5,
                                                                       5, 2022
                                                                          2022 Email
      DATE: 3/2/2023
FILED DATE:
FILED                12:59 PM
            3/2/2023 12:59
                                               Case: 1:23-cv-02044 Document #: 1-1 Filed: 03/31/23 Page 49 of 55 PageID #:54




                                            From: Nicole Penrose <nicole@bettervet.com>
                                            Date: Wed, Oct 5, 2022 at 4:47 PM
                                            Subject: OffBoarding Process
                              2022CH10789
                           PM 2022CH10789




                                            To: Dr. Karie Johnson <kjohnson@vipvetvisit.com>, Perry Bailes <perry@bettervet.com>, Susan Bigusiak
                                            <susan@bettervet.com>, melissa marusarz <melissamarusarz@bettervet.com>, Henry Lu
                                            <henry@bettervet.com>, Nathan Hernandez <nathan@bettervet.com>, Kelly Singer
                                            <kellysinger@bettervet.com>, Juan Gallo <juangallo@bettervet.com>, Carolina Goncebat
                                            <carolina@bettervet.com>, Jessica Olivar <jessicaolivar@bettervet.com>
                     12:59 PM
            3/2/2023 12:59
      DATE: 3/2/2023




                                            Hello Dr Johnson,
                                            I am sorry to hear this news!
                                            We have begun the offboarding process so you will see your access has been
FILED DATE:




                                            removed from EzyVet, Gmail and Hubspot. We have forwarded you emails to
FILED




                                            our liaison team to ensure your clients will receive a response. If you need
                                            access to anything please let me know.
                                            Here is what you can expect in the following areas;
                                            Inventory/Supplies- I have spoken with Joe and he has approved keeping
                                            the inventory and supplies in the garage of your home until another
                                            Veterinarian is hired to replace you. He has also spoken with Melissa and
                                            informed her of your departure.
                                            @melissa marusarz can you please coordinate with Dr Karie a day to go and
                                            count and complete this offboarding inventory count. I alSo need noted all
                                            equipment returned and serial numbers. Please complete the last 3 tabs of
                                            the spreadsheet. Dr Johnson has additional bags/storage that are a newer
                                            model of organization so please just list what is there in the tab designated.
                                            Please let me know when this is scheduled and if you have any questions :)
                                            Thank you!
                                            Dr Johnson, I have attached a spreadsheet that I will need you to fill out
                                            inorder to return your controlled substances. Once filled out I will submit it
                                            to the reverse distributor and within usually about a week I get
                                            return labels. The drugs will need to be packaged accordingly and shipped
                                            using the label back to the distributor. At which time they will confirm
                                            receipt. If these labels do not arrive before your BV credit card is cancelled
                                            we will discuss either reimbursement and/or another shipping payment
                                            option.
                                            @Juan Gallo please inactivate Dr Johnson's vendor shipping accts.

                                            Car - Please return the rental car as soon as possible. Confirm return to me
                                            please.

                                            Client Communication: We will be communicating with your clients via
                                            email regarding your departure tomorrow. I will ask Joe to also include Dr
                                            Meredith Rives to help support your clients questions/refill requests during
                                            this transition.



                                                                                                                                EXHIBIT F
                                               Case: 1:23-cv-02044 Document #: 1-1 Filed: 03/31/23 Page 50 of 55 PageID #:55




                                            Devices: Please mail back your ipad, phone and any other devices to @Perry
                                            Bailes at 60 Massachusetts Ave, Boston MA 02115. You can use your BV card for
                              2022CH10789
                           PM 2022CH10789




                                            shipping costs.

                                            HR/Payroll Management: @Susan Bigusiak will be terminating your
                                            employment effective 10/4 and you will receive your final paycheck on our
                     12:59 PM




                                            next payroll run.
            3/2/2023 12:59




                                            Credit Card - @Henry Lu will be canceling the card on 10/14 so please
      DATE: 3/2/2023




                                            destroy it.
FILED DATE:




                                            Again I am so sorry to hear news of your departure. Please let me know if
                                            you have any additional questions and I wish you all the best.
FILED




                                            Nicole Penrose, CVPM
                                            Director of Operations Enablement
                                            <) BetteFVet
                                            Check out our app

                                            Love BetterVet? Sharing is Caring!
                                            Click Here to Share a Review
                                            Case: 1:23-cv-02044 Document #: 1-1 Filed: 03/31/23 Page 51 of 55 PageID #:56




                                                                       EXHIBIT
                                                                       EXHIBIT G:
                                                                               G:
                              2022CH10789
                           PM 2022CH10789




                                                       October
                                                       October 20,
                                                               20, 2022
                                                                   2022 Client
                                                                        Client Notice
      DATE: 3/2/2023
FILED DATE:
FILED                12:59 PM
            3/2/2023 12:59
                                              Case: 1:23-cv-02044 Document #: 1-1 Filed: 03/31/23 Page 52 of 55 PageID #:57
                                            From: BetterVet <hello@bettervet.com>
                                            Date: October 20, 2022 at 12:00:22 PM    CDT
                                            To:
                                            Subject: Saying Farewell to Dr. Karie Johnson
                                            Reply-To: hello@bettervet.com



                                                                                                 <0) BettefVet
                                            ‘a.
                              2022CH10789
                           PM 2022CH10789




                                            T hope this note finds you and your pet in good health. I'm reaching out to you with the news that I will be leaving my position
                                            with BetterVet as of today. I will truly miss all of my pet patients and their families. It has been my absolute pleasure getting to
                                            know you and your pet and I want to extend my thanks for welcoming me into your home.
                     12:59 PM




                                            I'm sorry that our time together was short; however, I know that you're in good hands with my BetterVet colleagues. While I
            3/2/2023 12:59




                                            don’t have news about my replacement just yet, please be assured that we are actively searching for a veterinarian to provide
                                            services in my original coverage area.
      DATE: 3/2/2023




                                            If you have any questions or have an urgent request, feel free to reach out to your client liaison by phone at (888) 788-1165 or
                                            by email at support@bettervet.com. They will be available to help you during this transition period.
FILED DATE:




                                            Thank you again and warm wishes to you and your pet.
FILED




                                            Sincerely,

                                            Karie Johnson, DVM




                                                                                                                                                        ~   \l-




                                                                                                        (888) 788 1165
                                                                                                  support@bettervet.com




                                                                                                     00@O

                                                                  BetterVet, 60 Massachusetts Avenue,    Boston,   MA 02115,   United States, (888) 788 1165

                                                                                             Unsubscribe Manage      preferences




                                                                                                                                                                   EXHIBIT G
                                            Case: 1:23-cv-02044 Document #: 1-1 Filed: 03/31/23 Page 53 of 55 PageID #:58




                                                                       EXHIBIT H:
                                                                       EXHIBIT H:
                              2022CH10789
                           PM 2022CH10789




                                              Agreed
                                              Agreed Order
                                                     Order entered November 15,
                                                           entered November 15, 2022
      DATE: 3/2/2023
FILED DATE:
FILED                12:59 PM
            3/2/2023 12:59
                                            Case: 1:23-cv-02044 Document #: 1-1 Filed: 03/31/23 Page 54 of 55 PageID #:59




                                                                  IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                              2022CH10789




                                                                      COUNTY DEPARTMENT, CHANCERY DIVISION
                           PM 2022CH10789




                                            KARIE ANNE JOHNSON,




                                                                                              a”
                                                                                              aS
                                                     Plaintiff,
                     12:59 PM




                                                                                              ae
            3/2/2023 12:59




                                                                                              eR
                                                     v.                                                      Case No. 2022 CH 10789
      DATE: 3/2/2023




                                                                                              le
                                            BETTER VET LLC, a Massachusetts
                                            limited liability company, and BV
FILED DATE:




                                                                                              elf
                                            VETERINARY SERVICES ILLINOIS,
                                            PLLC, an Illinois professional limited
FILED




                                            liability company,
                                                                                              ee

                                                     Defendants.
                                                                                              ee




                                                                                     AGREED             ORDER

                                                This cause coming to be heard on Plaintiff, KARIE ANNE JOHNSON’s Motion for
                                            Temporary Restraining Order and Preliminary Injunction, due notice having been given, and
                                            Defendants, BETTER VET LLC, a Massachusetts limited liability company, and BY
                                            VETERINARY SERVICES ILLINOIS, PLLC, an Illinois professional limited liability company
                                            (collectively, “Defendants”), appearing through counsel, Darren S. Cahr, Scharf Banks Marmor,
                                            LLC; the parties being in agreement; and the Court being advised fully in the premises:

                                            IT IS HEREBY ORDERED:

                                                1.   Plaintiff hereby withdraws, without prejudice, her Motion for Temporary Restraining
                                                     Order and Preliminary Injunction.      This withdrawal shall not be understood as an
                                                     admission, or as a waiver of any claims or defenses in this action.

                                               2.    Absent further order of this Court, Defendants shall neither distribute the October 20, 2022
                                                     email attached as Exhibit B to Plaintiff's Motion for Temporary Restraining Order and
                                                     Preliminary Injunction, nor distribute any emails or communications purporting to be from
                                                     Plaintiff.                                                                                |

                                               3.    This Agreed Order shall not be understood as an admission of liability or as a waiver of
                                                     any claims or defenses in this action.

                                               4.    This matter is set for status on March 2, 2023, at 10:00 a.m., in Room 2601. Parties or their
                                                     counsel may appear via Zoom Meeting ID: 940 2104 4687; Password: 296476.                       |




                                                                                                    1 of 2

                                                                                                                                      EXHIBIT H
                                              Case: 1:23-cv-02044 Document #: 1-1 Filed: 03/31/23 Page 55 of 55 PageID #:60




                                              SO AGREED:
                              2022CH10789
                           PM 2022CH10789




                                             Plaintiff: Karie Anne Johnson:       Defendants: Better Vet LLC and BV Veterinary
                                                                                  Services Illinois, PLLC
                     12:59 PM




                                              By: /s/ Emma Y. Friebus             By: /s/ Darren S. Cahr
            3/2/2023 12:59




                                                 One of her attorneys                      » One of their attorneys
      DATE: 3/2/2023
FILED DATE:




                                                                  sudge       .   Dated:
                                                         a Vine   Walker
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                                                                                  Enter:             ea
                                                   oni      1 5   2022




                                              Prepared by:                                     7
                                              Plaintiffs Attorney                       Pal
                                              John W. Albee                         a
                                              Emma Y. Friebus
                                              Albee Law PC
                                            ‘ Attorney No. 58441
                                              1200 Shermer Road, Suite 430
                                              Northbrook, Illinois 60062
                                              Phone: (312) 279-0115
                                              Email: jalbee@albeelaw.com
                                                     efriebus@albeelaw.com




                                                                                   2 of 2
